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                     Exhibit B. to Levitt Aff. Pg 1 of 3



                              Exhibit B
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                                 Exhibit B. to Levitt Aff. Pg 2 of 3




Voyager Digital Provides Update on
Asset and Risk Management




NEWS PROVIDED BY
Voyager Digital (Canada) Ltd. 
Jun 14, 2022, 07:45 ET




NEW YORK, June 14, 2022 /PRNewswire/ - Voyager Digital Ltd. ("Voyager" or the "Company")
(TSX: VOYG) (OTCQX: VYGVF) (FRA: UCD2), one of the fastest-growing consumer
cryptocurrency platforms in the United States, and one of the first public companies in the
crypto industry, today provides an asset and risk management update in light of changing
market conditions. As a public company, Voyager operates with a consistently high level of
transparency, providing regular quarterly financial statements detailing the company's
financial position and financial statement disclosure surrounding risk management
practices and counterparty exposure.


Voyager differentiates itself through a straightforward, low-risk approach to lending and
asset management by working with a select group of reputable counterparties, which are all
vetted through extensive due diligence by its Risk Committee. The company does not
participate in DeFi lending activities, algorithmic stablecoin staking and lending, or
derivative assets, such as stETH. One of Voyager's important objectives is to make crypto as
simple and safe as possible for consumer use. With that mission in mind, safeguarding
customer assets is a top priority.


Although Voyager announced a prior partnership with Celsius in 2019, due to the company's
ongoing due diligence and risk management process, Voyager currently has no customer
                                                                                          
assets at Celsius.
"Voyager 22-10943-mew   Doc 161-3in the
         holds a strong position     Filed 07/28/22
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go public and provide full balance sheet transparency, our leadership also has deep
financial expertise across the sector and has led companies through multiple market cycles,"
said Steve Ehrlich, Chief Executive Officer and co-founder of Voyager. "The company is well
capitalized and in a good position to weather this market cycle and protect customer assets.
It is Voyager's goal to continue to build secure products and services, as well as build trust
and leadership in the cryptocurrency industry."


About Voyager Digital Ltd.
Voyager Digital Ltd.'s (TSX: VOYG) (OTCQX: VYGVF) (FRA: UCD2) US subsidiary, Voyager
Digital, LLC, is a fast-growing cryptocurrency platform in the United States founded in 2018
to bring choice, transparency, and cost-efficiency to the marketplace. Voyager offers a secure
way to trade over 100 different crypto assets using its easy-to-use mobile application.
Through its subsidiary Coinify ApS, Voyager provides crypto payment solutions for both
consumers and merchants around the globe. To learn more about the company, please
visit https://www.investvoyager.com.



The TSX has not approved or disapproved of the information contained herein.


SOURCE Voyager Digital (Canada) Ltd.




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